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                                 Curriculum Vitae
                      Dustin B. Wygant, Ph.D., ABAP



CONTACT INFORMATION

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EDUCATION

Kent State University, Kent, Ohio

2007   Doctor of Philosophy in Clinical Psychology (APA-Accredited)
       Specialization: Assessment Psychology
       Dissertation: Validation of the MMPI-2 Infrequent Somatic Complaints Scale

2007   Chief Intern, Ohio Psychology Internship, Akron, Ohio
       Predoctoral Internship (APA-Accredited)
       Forensic Division, Summit Psychological Associates, Inc.

2004   Masters of Arts in Clinical Psychology
       Thesis: Development and Initial Validation of a Scale to Detect Infrequent
               Somatic Complaints

Miami University, Oxford, Ohio

2001   Bachelor of Arts in Psychology, Cum Laude
       Honors Thesis: Influence of View and Angle Judgment on Spatial Memory Recall


LICENSURE

       ▪   Licensed Psychologist, Kentucky Board of Psychology (#130771)

       ▪   Licensed Psychologist, Ohio State Board of Psychology (#6495)
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ACADEMIC POSITIONS


06/14 – Present     Director of Clinical Training/Program Director (Doctoral Program)
                    Department of Psychology
                    Eastern Kentucky University
                    Richmond, Kentucky

07/18 – Present     Professor (Tenured)
                    Department of Psychology
                    Eastern Kentucky University
                    Richmond, Kentucky

08/13 – 06/18       Associate Professor (Tenured)
                    Department of Psychology
                    Eastern Kentucky University
                    Richmond, Kentucky

05/12 – 06/14       Coordinator, Clinical Psychology Graduate Program
                    Department of Psychology
                    Eastern Kentucky University

08/09 – 07/13       Assistant Professor
                    Department of Psychology
                    Eastern Kentucky University
                    Richmond, Kentucky

08/08 – 05/09       Senior Lecturer
                    Department of Psychology
                    The University of Akron
                    Akron, Ohio


CERTIFICATIONS

   ▪   Fellow, American Psychological Association, Division 12 (Society of Clinical
       Psychology)
   ▪   Diplomate, American Board of Assessment Psychology
   ▪   Fellow, American Academy of Assessment Psychology
   ▪   Fellow, Society for Personality Assessment
   ▪   Proficiency in Personality Assessment, Society for Personality Assessment




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CLINICAL/FORENSIC EXPERTISE

  ▪   Competency to Stand Trial              ▪   Forensic Psychological Evaluation
  ▪   Not Guilty by Reason of Insanity       ▪   Expert Testimony
  ▪   Violence/Sexual risk assessment        ▪   Psychological Testing
  ▪   Medical Malpractice                    ▪   Malingering/Deception
  ▪   Posttraumatic Stress Disorder          ▪   Psychiatric/Psychological Diagnosis
  ▪   Emotional Disability                   ▪   Personality Disorders
  ▪   Fitness for Duty                       ▪   Drug and Alcohol abuse
  ▪   Pre-employment screening               ▪   Miranda waiver
  ▪   Workplace Violence Assessment          ▪   Presentence/Mitigation
  ▪   Second Opinion review                  ▪   Juvenile bind-over/Transfer evaluations


CLINICAL EXPERIENCE

7/09 – Present Wygant Psychological, PLLC, Richmond, Kentucky
                ▪ Federal and state cases
                ▪ Forensic psychological evaluation & consultation: competency to
                  stand trial, criminal responsibility, medical malpractice, sexual
                  offender/violence risk assessment
                ▪ Fitness-for-duty, workplace violence, return to work, and pre-
                  employment evaluations
                ▪ Work product review, deposition preparation & case consultation
                ▪ Expert testimony

7/09 – 03/13 University of Cincinnati Division of Forensic Psychiatry, Cincinnati, Ohio
                ▪ Forensic psychological consultation & evaluation: competency to
                   stand trial, juvenile transfer, fitness-for-duty, sexual offender
                   classification/risk assessment
                ▪ Expert testimony
                ▪ Consultation research

7/06 – 6/09    Summit Psychological Associates, Inc. Akron, Ohio
                ▪ Setting: group private practice with forensic concentration
                ▪ Office Manager: Administrative authority over 11 clinicians (clinical
                  psychologists, psychiatrists, licensed social workers, professional
                  counselors, psychology interns and postdoctoral residents)
                ▪ Director of Supervision, Ohio Psychology Internship
                ▪ Conducted a variety of court-ordered forensic evaluations,
                  including competency to stand trial, criminal responsibility, parental
                  fitness/child custody, presentence, and sexual offender risk
                  assessments




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                 ▪   Conducted pre-employment and fitness-for-duty evaluations for
                     police officers, firefighters, sheriff’s deputies, and Akron Metro
                     employees
                 ▪   Group psychotherapy with sexual offenders, domestic violence
                     offenders, and substance abuse treatment
                 ▪   Individual psychotherapy
                 ▪   Conducted competency restoration treatment
                 ▪   Provided expert testimony in court
                 ▪   Clinical supervision of pre-doctoral psychology interns and
                     postdoctoral residents

7/05 – 6/06   Coleman Professional Services. Kent, Ohio
                 ▪ Setting: Community mental health center
                 ▪ Diagnostic assessments and psychological evaluations
                 ▪ Crisis intervention/psychiatric emergency services
                 ▪ Individual psychotherapy
                 ▪ Group psychotherapy with sexual offenders and crisis residential
                   unit inpatients

6/04 – 7/05   Bariatric Assessment, Coleman Professional Services. Kent, Ohio
                 ▪ Setting: Pre-surgical evaluations in community mental health center
                 ▪ Developed program for conducting psychological assessments of
                      bariatric surgery candidates
                 ▪ Conducted preoperative assessments for bariatric surgeons

6/04 – 7/05   Psycho-Diagnostic Clinic. Akron, Ohio
                 ▪ Setting: Court psychiatric clinic
                 ▪ Conducted court-ordered psychological evaluations for treatment
                    in-lieu of conviction, mitigation of sentence, and probation risk
                    assessments
                 ▪ Psychological testing and psychosocial interviews with defendants
                    evaluated for competency to stand trial, criminal responsibility, and
                    risk assessment

8/03 – 6/04   Coleman Professional Services. Kent, Ohio
                 ▪ Setting: Advanced psychological assessment practicum at
                   community mental health center
                 ▪ Conducted a variety of psychological evaluations at an outpatient
                   mental health setting
                 ▪ Referrals included parental fitness/family reunification, court-
                   ordered presentence evaluations, pre-surgical evaluations, and
                   differential diagnosis

8/02 – 9/04   Psychological Clinic, Kent State University. Kent, Ohio
                 ▪ Setting: University-based psychology training clinic
                 ▪ Diagnostic assessments, psychological evaluations
                 ▪  Long term and brief psychotherapy

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SELECTED HONORS AND AWARDS

1/21       EKU Chautauqua Lecture: Diagnosis at the Crossroads: Mental Illness in the
           21st Century

4/19       Faculty Leadership Award, Eastern Kentucky University

3/15       Excellence in Research and Creative Activities Award, College of Arts &
           Sciences, Eastern Kentucky University

3/15       2015 Samuel J. and Anne G. Beck Early Career Award. Society for
           Personality Assessment

4/14       Ruric and Mary Roark Distinguished Lecture (Reflections on Psychopathy:
           Elucidating the Criminal Mind and Personality), College of Arts & Sciences,
           Eastern Kentucky University

3/12       Keynote Speaker, Kentucky Psychological Association Foundation Spring
           Academic Conference

3/12       College of Arts & Sciences Faculty Development Grant ($320)

3/11       Outstanding Undergraduate Mentor Award, Kentucky Psychological
           Association Foundation

11/10      Featured Presenter, 2010 Kentucky Psychological Association Annual
           Convention

2/10       College of Arts & Sciences Junior Faculty Summer Research Award ($4500)

9/09       2010 John E. Exner Scholar Award, Society of Personality Assessment ($500)

6/07       Chief Intern Award, Ohio Psychology Internship

10/05      Outstanding Graduate Student Award, Ohio Psychological Association


RESEARCH FUNDING

2020               University of Minnesota Press: Concurrent Validity of the MMPI-3 with
                   Post-9/11 Veterans. Direct Costs: $28,000. Role: Principal Investigator

2020               University Research Committee, Eastern Kentucky University (Mini-
                   Grant Award): Impact of Psychological Testing on Expert Testimony.
                   Direct Costs: $3000. Role: Co-Principal Investigator.



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2011- 2013            University Research Committee, Eastern Kentucky University (Major
                      Project Award), Elaborating on the Construct Validity of the
                      Proposed DSM-5 Conceptualization of Psychopathy.
                      Direct Costs: $ 10,196. Role: Principal Investigator.

PUBLICATIONS


   1. Mickens, L.D., Nghiem, D.M., Wygant, D.B., Umlauf, R.L., & Marek, R.J. (In Press).
      Validity of the Somatic Complaints Scales of the MMPI-2-RF in an Outpatient
      Chronic Pain Clinic. Journal of Clinical Psychology in Medical Setting.

   2. Anderson, J.L., Burchett, D., Wygant, D.B., Glassmire, D.M., Kamphuis, J.H., Smid,
      W., & Sellbom, M. (In Press). Differentiation between borderline and antisocial
      personality disorders in forensic settings. Psychology, Crime, and Law.

   3. Tylicki, J.L., Tarescavage, A.M., & Wygant, D.B. (In Press). Assessment of
      Malingering Among Head Injury Litigants with the MMPI-2, MMPI-2-RF, and MMPI-
      3. In C.R. Reynolds & A.M. Horton (Eds). Detection of Malingering in Head injury
      Litigation, Third Edition. Berlin: Springer.

   4. Sellbom, M., Lilienfeld, S.O., Latzman, R.D., & Wygant, D.B. (In Press). Assessment
      of Psychopathy: Addressing Myths, Misconceptions, and Fallacies. In L. Malatesti,
      J. McMillan, & P. Šustar (Eds.) Psychopathy: Its uses, validity and status. Berlin:
      Springer.

   5. Wygant, D.B. (Contributor). (2021). Case studies in psychological tele-assessment.
      In A.J. Wright & S.E. Raiford, Essentials of psychological tele-assessment (pp. 265-
      266). Hoboken, NJ: Wiley.

   6. Wygant, D.B., Engle, J.E., & Sellbom, M. (2020). Further Examination of DSM-5
      Antisocial Personality Disorder and Psychopathy: Findings from a Female
      Correctional Sample. Personality and Mental Health, 14, 388-398.

   7. Laurinavičius, A., Sellbom, M., Klimukienė, V., Wygant, D.B., Laurinaitytė, I.,
      Ustinavičiūtė, L., & Baltrūnas, M. (2020). Examination of Triarchic Psychopathy
      Measure in a Sample of Lithuanian Juvenile Offenders. Psychological
      Assessment, 32, 407-413.

   8. Wygant, D.B., Burchett, D.L., & Harp, J.P. (2020). Assessment of Noncredible
      Reporting and Responding. In M. Sellbom & J. Suhr (Eds.) Cambridge Handbook
      of Clinical Assessment and Diagnosis (p. 63-79). New York, NY: Cambridge
      University Press.

   9. Drislane, L.E., Sellbom, M., Brislin, S.J., Strickland, C.M., Christian, E., Wygant, D.B.,
      Krueger, R.F., & Patrick, C.J. (2019). Improving Characterization of Psychopathy


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     within the DSM-5 AMPD: Creation and Validation of PID-5 Triarchic Scales.
     Personality Disorders: Theory, Research, and Treatment, 10, 511-523.

  10. Neo, B., Sellbom, M., & Wygant, D.B. (2019). Evaluating the Psychometric Effects
      and Assessment of Inconsistent Responding on the Psychopathic Personality
      Inventory-Revised in a Correctional Sample. Journal of Personality Disorders, 33,
      707-720.

  11. Ellison, K.S., Bundy, M.B., Gore, J.S. & Wygant, D.B. (2019). Exploration of the DSM-
      5’s Autism Spectrum Disorder Severity Level Specifier and Prediction of Autism
      Severity. Exceptionality, 27, 289-298.

  12. Wygant, D.B. (2019). Criminal Risk Assessment, Psychopathy. In R.D. Morgan (Ed.).
      The SAGE Encyclopedia of Criminal Psychology. Thousand Oaks, CA: Sage
      Publishing.

  13. Sleep, C.E., Wygant, D.B., & Miller, J.D. (2018). Examining the incremental utility of
      DSM-5 Section III traits and impairment in relation to traditional personality
      disorder scores in a female correctional sample. Journal of Personality Disorders,
      32, 738-752.

  14. Tylicki, J.L. Wygant, D.B., Tarescavage, A.M., Frederick, R.I., Tyner, E.A.,
      Granacher, R.P., & Sellbom, M. (2018). Comparability of Structured Interview of
      Reported Symptoms (SIRS) and Structured Interview of Reported Symptoms—2nd
      Edition (SIRS-2) Classifications with External Response Bias Criteria. Psychological
      Assessment, 1144-1159.

  15. Gervais, R.O., Tarescavage, A.M., Greiffenstein, M., Wygant, D.B., Deslauriers, C.,
      & Arends, P. (2018). Inconsistent Responding on the MMPI-2-RF and
      Uncooperative Attitude: Evidence from Cognitive Performance Validity
      Measures. Psychological Assessment, 30, 410-415.

  16. Wygant, D. B., Pardini, D. A., Marsh, A. A., & Patrick, C. J. (2018). Understanding
      psychopathy: Where we are, where we can go. In: C. J. Patrick (Ed.), Handbook
      of Psychopathy, 2nd ed. (p. 755-778). New York: Guilford Press.

  17. Wygant, D.B., Walls, B.D., Brothers, S.L., & Berry, D.T.R. (2018). Assessment of
      Malingering and Defensiveness on the MMPI-2 and MMPI-2-RF. R. Rogers (Ed.),
      Clinical Assessment of Malingering and Deception, 4th ed. (p. 267-279). New
      York: Guilford Press.

  18. Sellbom, M., & Wygant, D.B. (2018). Forensic applications of the MMPI-2
      Restructured Form: A case book. Minneapolis: University of Minnesota Press.

  19. Mossman, D., Wygant, D.B., Gervais, R.O., & Hart, K.J. (2018). Trial 1 versus Trial 2 of
      the Test of Memory Malingering: Evaluating Accuracy despite the Absence of a
      “Gold Standard”. Psychological Assessment, 30, 74-85.

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  20. Laurinaityte˙, I., Laurinavičius, A., Ustinavičiūtė, L., Wygant, D.B., & Sellbom, M.
      (2017). Utility of the MMPI-2 Restructured Form (MMPI-2-RF) in a sample of
      Lithuanian male offenders. Law and Human Behavior, 41, 494-505.

  21. Mowle, E.N., Kelley, S.E., Edens, J.F., Donnellan, M.B., Smith, S.T., Wygant, D.B., &
      Sellbom, M. (2017). Development of an Inconsistency Scale for the Triarchic
      Psychopathy Measure. Psychological Assessment, 29, 990-1000.

  22. Kutchen, T.J., Wygant, D.B., Tylicki, J.L., Dieter, A.M., Veltri, C.O.C., & Sellbom, M.
      (2017). Construct Validity of the MMPI-2-RF Triarchic Psychopathy Scales in
      Correctional and Collegiate Samples. Journal of Personality Assessment, 99, 408-
      415.

  23. Wygant, D.B., Arbisi, P.A., Bianchini, K.J., & Umlauf, R.L. (2017). Waddell
      Nonorganic Signs: New Evidence Suggests Somatic Amplification Among
      Outpatient Chronic Pain Patients. The Spine Journal, 17, 505-510.

  24. Wygant, D.B. (2016). Commentaries on ethical vignettes: Test Selection,
      Consideration of Individual and Group Differences, and Legal Admissibility
      Standards. In G. Pirelli, R. Beattey, & P.A. Zapf (Eds.), The ethical practice of
      forensic psychology: A casebook (p. 181-182). New York: Oxford.

  25. Wygant, D.B. (2016). Commentaries on ethical vignettes: Assessing Response
      Style. In G. Pirelli, R. Beattey, & P.A. Zapf (Eds.), The ethical practice of forensic
      psychology: A casebook (p. 222). New York: Oxford.

  26. Wygant, D.B., Sellbom, M., Sleep, C.E., Wall, T.D., Applegate, K.C., Krueger, R.F., &
      Patrick, C.J. (2016). Examining the DSM-5 Section III Operationalization of
      Antisocial Personality Disorder and Psychopathy in a Male Correctional Sample.
      Personality Disorders: Theory, Research, and Treatment, 7, 229-239.

  27. Ellison, K.S., Bundy, M.B., Wygant, D.B., & Gore, J.S. (2016). Don't Forget About the
      Teachers! Parent and Teacher BASC-2 Reports of Children on DSM-5 Autism
      Spectrum. Journal of Mental Health Research in Intellectual Disabilities, 9, 119-
      132.

  28. Mossman, D., Miller, W.G., Lee, E.R., Gervais, R.O., Hart, K.J., & Wygant, D.B.
      (2015). A Bayesian Approach to Mixed Group Validation of Performance Validity
      Tests. Psychological Assessment, 27, 763-776.

  29. Wygant, D.B., & Granacher, R.P. (2015). Assessment of Validity and Response Bias
      in Neuropsychiatric Evaluations. NeuroRehabilitation, 36, 427-438.

  30. Sellbom, M., Wygant, D.B., & Drislane, L.E. (2015). Elucidating the Construct
      Validity of the Psychopathic Personality Inventory Triarchic Scales. Journal of
      Personality Assessment, 97, 374-381.

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  31. Wall, T.D., Wygant, D.B., & Gallagher, R.W. (2015). Identifying Over-reporting in a
      Correctional Setting: Utility of the MMPI-2 Restructured Form Validity Scales.
      Criminal Justice and Behavior, 6, 610-622.

  32. Crighton, A.H., Wygant, D.B., Holt, K.R., & Granacher, R.P. (2015). Embedded
      Effort Scales in the Repeatable Battery for the Assessment of Neuropsychological
      Status: Do they Detect Neurocognitive Malingering? Archives of Clinical
      Neuropsychology, 30, 181-185.

  33. Wygant, D.B., & Lareau, C.R. (2015). Civil and Criminal Forensic Psychological
      Assessment: Similarities and Unique Challenges. Psychological Injury and Law, 8,
      11-26.

  34. Sleep, C.E., Petty, J.A., & Wygant, D.B. (2015). Framing the Results: Assessment of
      Response Bias through Select Self-report Measures in Psychological Injury
      Evaluations. Psychological Injury and Law, 8, 27-39.

  35. Wall, T.D., Wygant, D.B., & Sellbom, M. (2015). Boldness Explains a Key Difference
      Between Psychopathy and Antisocial Personality Disorder. Psychiatry, Psychology
      and Law, 22, 94-105.

  36. Wygant, D.B., Applegate, K.C., & Wall, T.D. (2015). Assessing Facets of Personality
      and Psychopathology in Violent Offenders. In C.A. Pietz & C.A. Mattson (Eds.)
      Violent Offenders: Understanding and Assessment (pp. 384-408). New York:
      Oxford University Press.

  37. Anderson, J.L., Sellbom, M., Wygant, D.B., Salekin, R.T., & Krueger, R.F. (2014).
      Examining the Associations between DSM-5 Section 3 Antisocial Personality
      Disorder and Psychopathy in Community and University Samples. Journal of
      Personality Disorders, 28, 675-697.

  38. Crighton, A.H., Wygant, D.B., Applegate, K.C., Umlauf, R.L., & Granacher, R.P.
      (2014). Can Brief Measures Effectively Screen For Pain and Somatic Malingering?
      Examination of the Modified Somatic Perception Questionnaire and Pain
      Disability Index. The Spine Journal, 14, 2042-2050.

  39. Henning, J.B., Wygant, D.B., & Barnes, P.W. (2014). Mapping the Darkness and
      Finding the Light: DSM-5 and the Assessment of the "Corporate Psychopath".
      Industrial and Organizational Psychology: Perspectives on Science and Practice,
      7, 144-148.

  40. Tarescavage, A.M., Wygant, D.B., Boutacoff, L.I., & Ben-Porath, Y.S. (2013).
      Reliability, Validity, and Utility of the Minnesota Multiphasic Personality Inventory-
      2-Restructured Form (MMPI-2-RF) in Assessments of Bariatric Surgery Candidates.
      Psychological Assessment, 25, 1179-1194.


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  41. McBride, W.F., Crighton, A.C., Wygant, D.B., & Granacher, R.P. (2013). It's Not All
      in Your Head (or at least your Brain): Association of Traumatic Brain Lesion
      Presence and Location with Performance on Measures of Response Bias in
      Forensic Evaluation. Behavioral Sciences and the Law, 31, 779-788.

  42. Anderson, J.L., Sellbom, M., Wygant, D.B., Edens, J.F. (2013). Examining the
      Necessity for and Utility of the Psychopathic Personality Inventory – Revised (PPI-
      R) Validity Scales. Law and Human Behavior, 37, 312-320.

  43. Stanley, J.H., Wygant, D.B., & Sellbom, M. (2013). Elaborating on the Construct
      Validity of the Triarchic Psychopathy measure in a Criminal Offender Sample.
      Journal of Personality Assessment, 95, 343-350.

  44. Tarescavage, A., Wygant, D.B., Gervais, R.O., & Ben-Porath, Y.S. (2013).
      Association of the MMPI-2 Restructured Form (MMPI-2-RF) and Malingered
      Neurocognitive Dysfunction among Non-Head Injury Disability Claimants. The
      Clinical Neuropsychologist, 27, 313-335.

  45. Burton, K.A., Florell, D., & Wygant, D.B. (2013). The Role of Peer Attachment and
      Normative Beliefs about Aggression on Bullying and Cyberbullying. Psychology in
      the Schools, 50,103-115.

  46. Wygant, D.B., & Sellbom, M. (2012). Viewing Psychopathy from the Perspective of
      the Personality Psychopathology Five Model: Implications for DSM-5. Journal of
      Personality Disorders, 26, 717-726.

  47. Brodsky, S.L., & Wygant, D.B. (2012). Brushed off testimony. Journal of the
      American Academy of Psychiatry and the Law, 40, 562-565.

  48. Wiggins, C.W., Wygant, D.B., Hoelzle, J., & Gervais, R.O. (2012). The More you Say,
      the Less it Means: Over-Reporting and Attenuated Criterion Validity in a Forensic
      Disability Sample. Psychological Injury and Law, 5, 162-173.

  49. Sellbom, M., Wygant, D.B., & Bagby, R.M. (2012). Utility of the MMPI-2-RF in
      Detecting Non-Credible Somatic Complaints. Psychiatry Research, 197, 295-301.

  50. Mossman, D., Wygant, D.B., & Gervais, R.O. (2012). Estimating Accuracy of
      Neurocognitive Effort Measures In the Absence of a “Gold Standard.”
      Psychological Assessment, 24, 815-822.

  51. Archer, R.P., & Wygant, D.B. (2012). Child custody evaluations: Ethical, scientific,
      and practical considerations. Journal of Psychological Practice, 17, 1-70.

  52. Vines, L.M., Wygant, D.B., & Gervais, R.O. (2012). Empirically Guided Case
      Conceptualization of Posttraumatic Stress Disorder with the Minnesota
      Multiphasic Personality Inventory-2 Restructured Form (MMPI-2-RF) in a Forensic
      Disability Evaluation. Journal of Psychological Practice, 17, 180-205.

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  53. Sellbom, M., Ben-Porath, Y.S., Patrick, C.J., Wygant, D.B., Gartland, D.M. &
      Stafford, K.P. (2012). Development and Construct Validation of MMPI-2-RF
      Measures Assessing Global Psychopathy, Fearless-Dominance, and Impulsive-
      Antisociality. Personality Disorders: Theory, Research, and Treatment, 3, 17-38.

  54. Gervais, R.O., Wygant, D.B., Sellbom, M., & Ben-Porath, Y.S. (2011). Associations
      between SVT failure and scores on the MMPI-2-RF validity and substantive scales.
      Journal of Personality Assessment, 93, 508-517.

  55. Wygant, D.B., Anderson, J.L., Sellbom, M., Rapier, J.L., Allgeier, L.M., & Granacher,
      R.P. (2011). Association of the MMPI-2 Restructured Form (MMPI-2-RF) Validity
      Scales with Structured Malingering Criteria. Psychological Injury and Law, 4, 13-
      23.

  56. Wygant, D.B., Sellbom, M., Gervais, R.O., Ben-Porath, Y.S., Stafford, K.P., Freeman,
      D.B., & Heilbronner, R.L. (2010). Further validation of the MMPI-2 and MMPI-2-RF
      Response Bias Scale (RBS): Findings from Disability and Criminal Forensic Settings.
      Psychological Assessment, 22, 745-756.

  57. Gervais, R.O., Ben-Porath, Y.S., Wygant, D.B., & Sellbom, M. (2010). Incremental
      validity of the MMPI-2-RF over-reporting scales and RBS in assessing the veracity
      of memory complaints. Archives of Clinical Neuropsychology, 25, 274-284.

  58. Sellbom, M., Toomey, J.A., Wygant, D.B., Kucharski, L.T., & Duncan, S.A. (2010).
      Utility of the MMPI-2-RF (Restructured Form) Validity Scales in Detecting
      Malingering in a Criminal Forensic Setting: A Known-Groups Design. Psychological
      Assessment, 22, 22-31.

  59. Wygant, D.B., Ben-Porath, Y.S., Arbisi, P.A., Berry, D.T.R., Freeman, D.B., &
      Heilbronner, R.L. (2009). Examination of the MMPI-2 Restructured Form (MMPI-2-
      RF) Validity Scales in Civil Forensic Settings: Findings from Simulation and Known
      Group Samples. Archives of Clinical Neuropsychology, 24, 671-680.

  60. Gervais, R.O., Ben-Porath, Y.S., & Wygant, D.B. (2009). Empirical Correlates and
      Interpretation of the MMPI-2-RF Cognitive Complaints (COG) Scale. The Clinical
      Neuropsychologist, 23, 996-1015.

  61. Wygant, D. B., & Fleming, K.P. (2008). Clinical Utility of the MMPI-2 Restructured
      Clinical (RC) Scales in Therapeutic Assessment: A Case Study. Journal of
      Personality Assessment, 90, 110-118.

  62. Gervais, R.O., Ben-Porath, Y.S., Wygant, D.B., & Green, P. (2008). Differential
      sensitivity of the RBS and MMPI-2 validity scales to memory complaints. The
      Clinical Neuropsychologist, 22, 1061-1079.



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   63. Wygant, D.B., Boutacoff, L.I., Arbisi, P.A., Ben-Porath, Y.S., Kelly, P.H., & Rupp, W.
       M. (2007). Examination of the MMPI-2 Restructured Clinical (RC) scales in a
       sample of bariatric surgery candidates. Journal of Clinical Psychology in Medical
       Settings, 14, 197-205.

   64. Wygant, D.B., Sellbom, M., Ben-Porath, Y.S., Stafford, K.P., Freeman, D.B., &
       Heilbronner, R.L. (2007). The Relation between Symptom Validity Testing and
       MMPI-2 Scores as a Function of Forensic Evaluation Context. Archives of Clinical
       Neuropsychology, 22, 489-99.

   65. Gervais, R. O., Ben-Porath, Y.S., Wygant, D.B., & Green, P. (2007). Development
       and validation of a Response Bias Scale (RBS) for the MMPI-2. Assessment, 14,
       196-208.

   66. Meier, B. P., Sellbom, M., & Wygant, D.B. (2007). Failing to take the moral high
       ground: Psychopathy and the vertical representation of morality. Personality and
       Individual Differences, 43, 757-767.

   67. Wygant, D. B., Sellbom, M., Graham, J. R., & Schenk, P. W. (2006). Incremental
       validity of the MMPI-2 PSY-5 scales in assessing self-reported personality disorder
       criteria. Assessment, 13, 178-186.

   68. Stafford, K.P., & Wygant, D.B. (2005). Competency to stand trial in mental health
       courts. Behavioral Sciences and the Law, 23, 245-258.


RESEARCH PRESENTATIONS________________________________________________________

   1. Mickens, L.D., Nghiem, D.M., Wygant, D.B., & Marek, R.J. (November, 2020).
      Validity of the Somatic Complaints Scales of the MMPI-2-RF in a Chronic Pain
      Setting. Poster submitted for presentation at the 2020 Association for Behavioral
      and Cognitive Therapies conference. Philadelphia, PA.

   2. Wygant, D.B. (August, 2020). The MMPI-3 Captures Important Symptoms and Traits
      in Correctional and Forensic Settings. In D.M. McCord &P P.B. Ingram (Chairs)
      Symposium: Introduction of the MMPI-3. Paper presented at the 2020 Annual
      Meeting of the American Psychological Association. Remote conference.

   3. Wygant, D.B. (June, 2020). Examining the MMPI-3 in the Context of Two Prominent
      Models of Psychopathy. Paper presented at the 55th Annual Symposium on
      Recent MMPI Research. Remote conference.

   4. Wygant, D.B. (June, 2019). Examining Three-Factor Models of Psychopathy with
      the MMPI-2-RF. Paper presented at the 54th Annual Symposium on Recent MMPI
      Research. Minneapolis, MN.



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  5. England, S.B., Stanton, A.R., Keller, B.R., & Wygant, D.B. (June, 2019). Cross-
     validation of the PID-5 Triarchic scales with the MMPI-2-RF: Findings from a
     Sample of Incarcerated Offenders. Poster presented at the 54th Annual
     Symposium on Recent MMPI Research. Minneapolis, MN.

  6. Wheeler, E., Ingram, L., Galusha, C., Archer, R.P., & Wygant, D.B. (March, 2019).
     Breaking Bad: Developing a Career in Forensic Assessment. Roundtable
     discussion at the 2019 Annual Meeting of the Society for Personality Assessment.
     New Orleans, LA.

  7. Stanton, A.R., Keller, B.R., England, S.B., Gore, J., & Wygant, D.B. (March, 2019).
     The CAT-PD Captures Various Facets of Psychopathy: Findings from University
     and Correctional Samples. Poster presented at the 2019 Annual Meeting of the
     Society for Personality Assessment. New Orleans, LA.

  8. Chille, T.A., Adair, C.B., Kuhl, A.G., & Wygant, D.B. (March, 2019). Differentiating
     Grandiose and Vulnerable Narcissism with the CAT-PD. Poster presented at the
     2019 Annual Meeting of the Society for Personality Assessment. New Orleans, LA.

  9. Wygant, D.B., & Sellbom, M. (June, 2018). Capturing Psychopathy with the
     DSM-5 Alternative Model of Personality Disorders. Paper presented at the 2018
     European Association of Psychology and Law conference. Turku, Finland.

  10. Keller, B., Ingram, H., Semenick, M., Loucaides, A., Masterson, T., Kline, S., &
      Wygant, D.B. (April, 2018). Further examination of the MMPI-2-RF Triarchic Scales:
      Findings from Correctional and University Samples. Paper presented at the 53rd
      Annual Symposium of Recent Developments of the MMPI-2, MMPI-2-RF, & MMPI-
      A, Hollywood Beach, FL.

  11. Mooney, K.T., Wygant, D.B., & Sellbom, M. (April, 2018). Construct Validity of the
      MMPI-2-RF Personality Disorder Scales. Paper presented at the 53rd Annual
      Symposium of Recent Developments of the MMPI-2, MMPI-2-RF, & MMPI-A,
      Hollywood Beach, FL.

  12. Wygant, D.B., Sellbom, M., Lynch, C., Neundorf, J., Fonte, E., Masterson, T., Ben-
      Porath, D.S., & Loucaides, A. (March, 2018). Construct Validity of the Expanded
      Levenson Self-Report Psychopathy Scale: Findings from a Male Correctional
      Sample. Poster presented at the 2018 Annual Meeting of the Society for
      Personality Assessment. Washington, DC.

  13. Hall, J.T., Lee, T.T.C., Wygant, D.B., & Forbey, J.D. (March, 2018). Relations
      Between MMPI-2-RF Psychopathy Indices and Facets of Impulsivity. Paper
      presented at the 2018 Annual Meeting of the Society for Personality Assessment.
      Washington, DC.




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  14. Wygant, D.B. (June, 2017). Differentiating Grandiose and Vulnerable Narcissism
      on the MMPI-2-RF. Paper presented at the 52nd Annual Symposium of Recent
      Developments of the MMPI-2, MMPI-2-RF, & MMPI-A, Minneapolis, MN.

  15. Abell, S.L., Mooney, K.T., Gallimore, D.S., Poindexter, T.S., Watts, K.B., MacLachlan,
      H.E., & Wygant, D.B. (June, 2017). Differentiating Internalizing Psychopathology
      with the MMPI-2-RF. Paper presented at the 52nd Annual Symposium of Recent
      Developments of the MMPI-2, MMPI-2-RF, & MMPI-A, Minneapolis, MN.

  16. Allgood, M., Bresler, S.A., & Wygant, D.B. (June, 2017). Ferreting out the “Fake
      Good” in Fitness for Duty Evaluation. Poster presented at the 52nd Annual
      Symposium of Recent Developments of the MMPI-2, MMPI-2-RF, & MMPI-A,
      Minneapolis, MN.

  17. Sellbom, M., Wygant, D.B., & Salekin, R.T. (May, 2017). A Comparison of DSM-5
      Section II and Section III Antisocial Personality Disorder Criteria in Operationalizing
      Psychopathy. Paper submitted for presentation at the bi-annual meeting of the
      Society for Scientific Study of Psychopathy (SSSP). Antwerp, Belgium.

  18. Fedechko, T.L., Wygant, D.B., Frick, P.J., Clark. J.E., Matlasz, T.M., Le, T., & Cohen,
      A.S. (April, 2017). Computationally-derived markers of verbal and nonverbal
      affective expression in psychopathy: A preliminary “quantitative” study. Paper
      submitted for presentation at the 2017 Society for Affective Science Annual
      Conference. Boston, MA.

  19. Wygant, D.B. (March, 2017). Examining Various Operationalizations of
      Psychopathy with the MMPI-2-RF. In S. Sellbom (Chair)) Symposium: Elucidating
      the Validity and Utility of the MMPI-2-RF in Measuring Externalizing
      Psychopathology. Paper presented at the 2017 Annual Meeting of the Society
      for Personality Assessment. San Francisco, CA.

  20. Tylicki, J.L., Wygant, D.B., Sellbom, M., Frederick, R., Tyner, E., & Granacher, R.P.
      (March, 2017). Comparing the SIRS and SIRS-2 in relation to External Response
      Bias Criteria: Findings from Criminal and Civil Forensic Evaluations. Paper
      presented at the 2017 Annual Meeting of the American Psychology Law Society.
      Seattle, WA.

  21. Wygant, D.B. (July, 2016). Introducing the MMPI-2-RF: Utility in Forensic and
      Correctional Assessment. In D.B. Wygant (Chair) Symposium: Introducing the
      MMPI-2-RF: Utility in Forensic and Correctional Assessment. Paper presented at
      the International Conference on Psychology & Law, European Association of
      Psychology and Law. Toulouse, France.

  22. McBride, W.F., & Wygant, D.B. (July, 2016). The MMPI-2-RF Validity Scales: Review
      and Use in Forensic Psychological Assessment. In D.B. Wygant (Chair) Symposium:
      Introducing the MMPI-2-RF: Utility in Forensic and Correctional Assessment. Paper


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     presented at the International Conference on Psychology & Law, European
     Association of Psychology and Law. Toulouse, France.

  23. Ellison, K.S., Bundy, M.B., Wygant, D.B., & Gore, J.S. (May, 2016). Teachers Are
      Important Too! Incremental Validity of BASC-2 TRS in Predicting DSM-5 Autism
      Spectrum Disorder Severity Ratings. Poster presented at the 2016 International
      Meeting for Autism Research. Baltimore, MD.

  24. Kutchen, T.J., & Wygant, D.B. (March, 2016). Neurocognitive Correlates of the
      Triarchic Psychopathy Measure: Links to Response Inhibition, Executive
      Functioning, and Affective Processing. Paper presented at the 2016 Annual
      Meeting of the American Psychology Law Society. Atlanta, GA.

  25. Sleep, C.E., Wygant, D.B., Deeken, D.A., & Miller, J.D. (March, 2016). DSM-5
      Section III Personality Disorders: Do Impairment Criteria add incrementally to
      Dimensional Personality Traits in the Prediction of Forensically-relevant Personality
      Disorders in a Correctional Setting? Paper presented at the 2016 Annual Meeting
      of the American Psychology Law Society. Atlanta, GA.

  26. Dieter, A.M., Wygant, D.B., Kutchen, T.J., Tylicki, J.L., Kuhl, A.G., Drislane, L.E., &
      Sellbom, M. (March, 2016). Development and Initial Validation of Triarchic
      Construct Scales for the Computerized Adaptive Test of Personality Disorder
      (CAT-PD). Paper presented at the 2016 Annual Meeting of the American
      Psychology Law Society. Atlanta, GA.

  27. Tylicki, J.L., Wygant, D.B., Mooney, K.T., & Boswell, A.M. (March, 2016). Examining
      the Triarchic Psychopathy Scales from the Personality Inventory for DSM-5 (PID-5).
      Paper presented at the 2016 Annual Meeting of the American Psychology Law
      Society. Atlanta, GA.

  28. Mowle, E.N., Kelley, S.E., Donnellan, M.B., Edens, J.F., Smith, S.T., Wygant, D.B., &
      Sellbom, M. (March, 2016). Development and Validation of an Inconsistent
      Responding Scale for the Triarchic Psychopathy Measure. Paper presented at
      the 2016 Annual Meeting of the American Psychology Law Society. Atlanta, GA.

  29. Wygant. D.B. (August, 2015). Capturing the Triarchic Model of Psychopathy with
      the DSM-5 Alternative Model of Antisocial Personality Disorder: Implications for
      Forensic Assessment. In M. Sellbom (Chair) Symposium: The Triarchic Model of
      Psychopathy: Implications for Forensic Assessment and Mental Health. Paper
      presented at the International Conference on Psychology & Law, European
      Association of Psychology and Law. Nuremberg, Germany.

  30. Drislane, L.E., Sellbom, M., Wygant, D.B., Brislin, S.J., Strickland, C.M., Christian, E.,
      Krueger, R.F., & Patrick, C.J. (June, 2015). Capturing triarchic psychopathy
      constructs within the DSM-5 trait framework. Paper presented at the bi-annual
      meeting of the Society for Scientific Study of Psychopathy (SSSP). Chicago, IL.


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  31. Sellbom, M., & Wygant, D.B. (June, 2015). Associations between self-reported
      psychopathy and crime and recidivism from a triarchic perspective. Paper
      presented at the bi-annual meeting of the Society for Scientific Study of
      Psychopathy (SSSP). Chicago, IL.

  32. Wygant, D.B., & Sellbom, M. (June, 2015). Can the MMPI-2-RF Differentiate
      between Psychopathy and Antisocial Personality Disorder? In M. Sellbom (Chair)
      Symposium: Assessing Psychopathic Personality Traits with the MMPI-2-RF. Paper
      presented at the 50th Annual Symposium of Recent Developments of the MMPI-2,
      MMPI-2-RF, & MMPI-A, Minneapolis, MN.

  33. Kutchen, T.J., Dieter, A.M., & Tylicki, J.L., Veltri, C.O.C., & Wygant, D.B. (June,
      2015). Examining the Construct Validity of the MMPI-2-RF Triarchic Psychopathy
      Scales. In M. Sellbom (Chair) Symposium: Assessing Psychopathic Personality Traits
      with the MMPI-2-RF. Paper presented at the 50th Annual Symposium of Recent
      Developments of the MMPI-2, MMPI-2-RF, & MMPI-A, Minneapolis, MN.

  34. Sleep. C.E., Wygant, D.B., & Deeken, D.A. (March, 2015). Clarifying the
      Relationship between Trauma and Psychopathy: A Triarchic Perspective. In T.R.
      Phillips (Chair) Symposium: Exploring the Nature of Associations between
      Psychopathy and Posttraumatic Stress Disorder from a Multimodal Perspective.
      Paper presented at the 2015 Annual Meeting of the American Psychology Law
      Society. San Diego, CA.

  35. Tylicki, J.L., Daniel, F., & Wygant, D.B. (March, 2015). The Influence of Self-
      Reported Psychopathic Traits on Contextual Reasoning. Poster presented at the
      2015 Annual Meeting of the American Psychology Law Society. San Diego, CA.

  36. Kutchen, T.J., Dieter, A.M., Veltri, C.O., & Wygant, D.B. (March, 2015). Further
      Review of the Construct Validity of MMPI-2-RF Psychopathy Scales in College
      Samples. Poster presented at the 2015 Annual Meeting of the American
      Psychology Law Society. San Diego, CA.

  37. Wygant, D.B., Sleep, C.E., & Deeken, D.A. (March, 2015). Exploring the links
      between Borderline and Psychopathic Personality with the CAT-PD in College
      and Correctional Samples. Paper presented at the 2015 Annual Meeting of the
      Society for Personality Assessment. New York, NY.

  38. Sellbom, M., Drislane, L., Wygant, D.B., Johnson, A.K., Goodwin, B., & Patrick, C.J.
      (March, 2015). Operationalizing the Triarchic Psychopathy Model via the MMPI-2-
      RF. Paper accepted for presentation at the 2015 Annual Meeting of the
      American Psychology Law Society. San Diego, CA.

  39. Crighton, A.H., Bresler, S.A., Wygant, D.B., & Gillespie, G.L. (February, 2015).
      Aggression and Interpersonal Violence in Hospital Emergency Departments.
      Poster presented at the 2015 Annual Meeting of the American Academy of
      Forensic Sciences. Orlando, FL.

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  40. Sellbom, M., Wygant, D.B., & Salekin, R.T. (2014, November). Elucidating the
      construct validity of the triarchic conceptualization of psychopathy in a
      correctional sample. Paper accepted for presentation at the 2014 Annual
      Congress for the Australian and New Zealand Association of Psychiatry,
      Psychology, and Law. Sydney, Australia.

  41. Sellbom, M., Wygant, D.B., & Salekin, R.T. (2014, September). A Comparison of
      DSM-5 Section II and Section III Antisocial Personality Disorder in Capturing
      Psychopathy. Paper presented at the 28th Annual Meeting of the Society for
      Research in Psychopathology. Evanston, IL.

  42. Wygant, D.B., & Sellbom, M. (2014, April). Mapping the MMPI-2-RF onto DSM-5
      Section III Antisocial Personality Disorder. Paper presented at the 49th Annual
      Symposium of Recent Developments of the MMPI-2, MMPI-2-RF, & MMPI-A,
      Scottsdale, AZ.

  43. Petty, J.A., Wygant, D.B., & Sellbom, M. (2014, April). Linking the Triarchic Model of
      Psychopathy to the MMPI-2-RF. Poster presented at the 49th Annual Symposium
      of Recent Developments of the MMPI-2, MMPI-2-RF, & MMPI-A, Scottsdale, AZ.

  44. Sleep, C., Durham, J.L., Cardwell, J., Wygant, D.B., & Umlauf, R.L. (2014, April).
      Examining the MMPI-2-RF and Waddell’s Non-Organic Signs. Poster presented at
      the 49th Annual Symposium of Recent Developments of the MMPI-2, MMPI-2-RF,
      & MMPI-A, Scottsdale, AZ.

  45. Sleep, C., Cardwell, J., Kuhl, A., Wygant, D.B., & Sellbom, M. (2014, March).
      Examination of the Triarchic Scales for the Psychopathic Personality Inventory in a
      Sample of Male Inmates. Poster presented at the 2014 American Psychology Law
      Society Annual Conference, New Orleans, LA.

  46. Ison, C.A., Durham, J., Shaughnessy, S., Wygant, D.B., & Sellbom, M. (2014,
      March). Callous Lack of Empathy Differentiates Psychopathy and Antisocial
      Personality Disorder. Poster presented at the 2014 American Psychology Law
      Society Annual Conference, New Orleans, LA.

  47. Crighton, A.H., Holt, K.R., Callahan, K.J., Wygant, D.B., & Granacher, R.P. (2014,
      March). Embedded Effort Scales in the Repeatable Battery for the Assessment of
      Neuropsychological Status: Do they Detect Neurocognitive Malingering? Poster
      presented at the 2014 American Psychology Law Society Annual Conference,
      New Orleans, LA.

  48. Sellbom, M., & Wygant, D.B. (2013, November). DSM-5 Antisocial Personality
      Disorder and Psychopathy: Empirical Evidence to Guide the Future. Paper
      presented at 2013 Annual Congress for the Australian and New Zealand
      Association of Psychiatry, Psychology, and Law. Adelaide, Australia.


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  49. Wygant, D.B., Sellbom, M., & Anderson, J.L. (2013, June). Indexing the Triarchic
      Domains of Psychopathy with the Personality Inventory for DSM-5. Paper
      presented at the bi-annual meeting of the Society for Scientific Study of
      Psychopathy (SSSP). Washington, DC.

  50. Wall, T.D., Wygant, D.B., & Sellbom, M. (2013, June). Boldness explains a key
      difference between psychopathy and Antisocial Personality Disorder. Poster
      presented at the bi-annual meeting of the Society for Scientific Study of
      Psychopathy (SSSP). Washington, DC.

  51. Johnson, A.K., Sellbom, M., & Wygant, D.B. (2013, May). Differential Overreporting
      Tendencies on the MMPI-2-RF Depending on the Presence of Severe
      Psychopathology. Paper presented at the 48th Annual Symposium of Recent
      Developments of the MMPI-2, MMPI-2-RF, & MMPI-A, St. Pete Beach, FL.

  52. Wygant, D.B. (2013, March). DSM-5 Antisocial Personality Disorder and
      Psychopathy: Is it closer to the target than DSM-IV? In D.B. Wygant (Chair)
      Symposium: DSM-5 Antisocial Personality Disorder: Links to Psychopathy,
      Personality, and Neurocognitive Deficits. Paper presented at the 2013 American
      Psychology Law Society Annual Conference, Portland, OR.

  53. Applegate, K.C., Wygant, D.B., Sellbom, M. (2013, March). DSM-5 Antisocial
      Personality Disorder: An Examination of the Specific Impairment and Trait Criteria.
      In D.B. Wygant (Chair) Symposium: DSM-5 Antisocial Personality Disorder: Links to
      Psychopathy, Personality, and Neurocognitive Deficits. Paper presented at the
      2013 American Psychology Law Society Annual Conference, Portland, OR.

  54. Wall, T.D., Sellbom, M., Wygant, D.B. (2013, March). Neurocognitive Correlates of
      DSM-5 Antisocial Personality Disorder. In D.B. Wygant (Chair) Symposium: DSM-5
      Antisocial Personality Disorder: Links to Psychopathy, Personality, and
      Neurocognitive Deficits. Paper accepted for presentation at the 2013 American
      Psychology Law Society Annual Conference, Portland, OR.

  55. Crighton, A.H., Applegate, K.C., Wygant, D.B., Umlauf, R.L., & Granacher, R.P.
      (2013, March). The MMPI-2 Restructured Form Can Differentiate Between Pain
      and Pain Malingering. Paper presented at the 2013 American Psychology Law
      Society Annual Conference, Portland, OR.

  56. West, K.K., Burchett, D., Ben-Porath, Y.S., & Wygant, D.B. (2013, March). Assessing
     Antisocial Personality Disorder with the MMPI-2 Restructured Form in a Forensic
     Pretrial Assessment Setting. Poster presented at the 2013 American Psychology
     Law Society Annual Conference, Portland, OR.

  57. McBride, W.F., Sutherland, H.G., Wygant, D.B., & Granacher, R.P. (2013, March).
      Comparability of SIRS and SIRS-2 Malingering Classifications with External
      Response Bias Criteria. Poster presented at the 2013 American Psychology Law
      Society Annual Conference, Portland, OR.

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  58. Ison, C.A., Jacobs, J.N., Crighton, A.C., Wygant, D.B., & Sellbom, M. (2013,
      March). Empirical Correlates of the MMPI-2-RF Based Psychopathy Factors in a
      Prison Sample. Paper presented at the 2013 American Psychology Law Society
      Annual Conference, Portland, OR.

  59. Wiggins, C.W., Wygant, D.B., Bresler, S.A., & Juran, R.M. (2012, April). Can the
      MMPI-2-RF validity scales detect cognitive response bias in an inpatient
      psychiatric setting? Poster presented at the 47th Annual Symposium of Recent
      Developments of the MMPI-2, MMPI-2-RF, & MMPI-A, Las Vegas, NV.

  60. Stanley, J.H., Crighton, A.H., Wygant, D.B., Sellbom, M., & Umlauf, R.L. (2012, April).
      Diagnostic and Empirical Correlates of the MMPI-2-RF in a Non-Litigating Pain
      Patient Setting. Paper presented at the 47th Annual Symposium of Recent
      Developments of the MMPI-2, MMPI-2-RF, & MMPI-A, Las Vegas, NV.

  61. Wall, T.D., Applegate, K.C., Wygant, D.B., Umlauf, R.L., & Granacher, R.P. (2012,
      April). Differential Assessment of Depression and Anxiety Symptoms with the
      MMPI-2-RF. Paper presented at the 47th Annual Symposium of Recent
      Developments of the MMPI-2, MMPI-2-RF, & MMPI-A, Las Vegas, NV.

  62. Ison, C.A., Justice, L.R., Applegate, K.C., Wall, T.D., & Wygant, D.B. (2012, April).
      Cross-Validation of the MMPI-2-RF Indices of Psychopathy in a Criminal Offender
      Sample. Poster presented at the 47th Annual Symposium of Recent
      Developments of the MMPI-2, MMPI-2-RF, & MMPI-A, Las Vegas, NV.

  63. Stanley, J.H., & Wygant, D.B., Sellbom, M. (2012, March). The Triarchic Model of
      Psychopathy: Implications for DSM-5 Antisocial Personality Disorder. Paper
      presented at the 2012 American Psychology Law Society Annual Conference,
      San Juan, Puerto Rico.

  64. Wiggins, C.W., Wygant, D.B., Hoelzle, J., & Gervais, R.O. (2012, March). The More
      you Say, the Less it Means: Over-Reporting Response Bias and Attenuated
      Criterion Validity. In Y.S. Ben-Porath (Chair), Symposium: Validity Scales
      Moderate the Validity of Scores on Substantive Measures in Forensic Assessments.
      Paper presented at the 2012 American Psychology Law Society Annual
      Conference, San Juan, Puerto Rico.

  65. Applegate, K.C., Wall, T.D., Wygant, D.B., Jacobs, J.N, Sutherland, H.G., & Ison,
      C.A. (2012, March). DSM-5 Antisocial Personality Disorder: Is there room for
      Negative Affectivity? Poster presented at the 2012 American Psychology Law
      Society Annual Conference, San Juan, Puerto Rico.

  66. Rapier, J.L., Wygant, D.B., Ben-Porath, Y.S., Granacher, R.P., & Umlauf, R.L. (2012,
      March). Sorting Somatic Complaints: Differentiating Somatic Malingering and
      Somatoform Disorder with the MMPI-2 Restructured Form. Paper presented at the


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     2012 American Psychology Law Society Annual Conference, San Juan, Puerto
     Rico.

  67. Anderson, J.L., Sellbom, M., & Wygant, D.B., Edens, J.F. (2012, March). Examining
      the Necessity and Utility the Psychopathic Personality Inventory – Revised Validity
      Scales. In Y.S. Ben-Porath (Chair), Symposium: Validity Scales Moderate the
      Validity of Scores on Substantive Measures in Forensic Assessments. Paper
      presented at the 2012 American Psychology Law Society Annual Conference,
      San Juan, Puerto Rico.

  68. Tarescavage, A., Ben-Porath, Y.S., Wygant, D.B., & Boutacoff, L.I. (2011, June).
      Construct Validity and Clinical Utility of the MMPI-2-RF in a Sample of Bariatric
      Surgery Candidates. Paper presented at the 28th Annual Meeting of the
      American Society for Metabolic & Bariatric Surgery, Orlando, FL.

  69. Anderson, J.L., Wygant, D.B., Kucharski, L.T., Duncan, S., & Granacher, R.P. (2011,
      May). The Relationship between the MMPI-2 Restructured Form and the
      Structured Inventory of Reported Symptoms as a Function of Forensic Evaluation
      Context. Paper presented at the 46th Annual Symposium of Recent
      Developments of the MMPI-2, MMPI-2-RF, & MMPI-A, Minneapolis, MN.

  70. Anderson, J.L., Wygant, D.B., & Granacher, R.P. (2011, May). Exploring the
      Nomological Network of the MMPI-2-RF Over-reporting Validity Scales. Poster
      presented at the 46th Annual Symposium of Recent Developments of the MMPI-2,
      MMPI-2-RF, & MMPI-A, Minneapolis, MN.

  71. Darnell, K.R., & Wygant, D.B. (2011, May). Utilizing the MMPI-2 Restructured Form in
      Therapeutic Assessment: A Case Study. Poster presented at the 46th Annual
      Symposium of Recent Developments of the MMPI-2, MMPI-2-RF, & MMPI-A,
      Minneapolis, MN.

  72. Rapier, J.L., & Wygant, D.B., & Granacher, R.P. (2011, May). Assessing Malingered
      Neurocognitive Dysfunction in a sample of Head Injury Litigants with the MMPI-2
      Restructured Form (MMPI-2-RF). Poster presented at the 46th Annual Symposium
      of Recent Developments of the MMPI-2, MMPI-2-RF, & MMPI-A, Minneapolis, MN.

  73. Gervais, R.O., Greiffenstein, M., & Wygant, D.B. (2011, May). Associations
      between VRIN-r and TRIN-r scores and Symptom Validity Test failure. Paper
      presented at the 46th Annual Symposium of Recent Developments of the MMPI-2,
      MMPI-2-RF, & MMPI-A, Minneapolis, MN.

  74. Wygant, D.B., Vines, L.M., & Granacher, R.P. (2011, March). MMPI-2 Restructured
      Form Validity Scales Prediction of Neuropsychological Test Scores in a Disability
      Sample. Paper presented at the 4th International Congress on Psychology and
      Law, Miami, FL.



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  75. Anderson, J.L., Wygant, D.B., & Granacher, R.P. (2011, March). A Multi-Method
      Assessment Approach to the Detection of Malingered Pain: Association with the
      MMPI-2 Restructured Form. Poster presented at the 4th International Congress on
      Psychology and Law, Miami, FL.

  76. Mossman, D., Wygant, D.B., & Gervais, R.O. (2011, March). Estimating the
      Accuracy of Malingering Measures in the Absence of a “Gold Standard.” Poster
      presented at the 4th International Congress on Psychology and Law, Miami, FL.

  77. Gervais, R.O., Sellbom, M., & Wygant, D.B. (2010, October). Efficiency of the
      MMPI-2-RF and PAI validity indicators in predicting SVT performance. Poster
      presented at the 30th Annual Meeting of the National Academy of
      Neuropsychology, Vancouver, Canada.

  78. Wygant, D.B., Grosse, C., & Rapier, J.L. (2010, August). Assessing Psychopathy with
      the MMPI-2-RF PSY-5 Scales. In Y.S. Ben-Porath (Chair), Symposium: Reinforcing
      the Link between Practice and Research with the MMPI-2-RF. Paper presented at
      the 118th Annual Convention of the American Psychological Association
      Convention, San Diego, CA.

  79. Wygant, D.B. (2010, March). Empirically Guided Case Conceptualization of
      Psychopathy with the MMPI-2-RF. In D.B. Wygant (Chair), Forum: Empirically-
      Guided Case Conceptualization with the MMPI-2-RF. Paper presented at the 45th
      Annual Symposium of Recent Developments of the MMPI-2, MMPI-2-RF, & MMPI-
      A, St. Petersburg, FL.

  80. Vines, L.M., Wygant, D.B., & Gervais, R.O. (2010, March). Empirically Guided Case
      Conceptualization of PTSD with the MMPI-2-RF. In D.B. Wygant (Chair), Forum:
      Empirically-Guided Case Conceptualization with the MMPI-2-RF. Paper
      presented at the 45th Annual Symposium of Recent Developments of the MMPI-2,
      MMPI-2-RF, & MMPI-A, St. Petersburg, FL.

  81. Gervais, R.O., Sellbom, M., & Wygant, D.B. (2010, March). Comparison of the
      MMPI-2-RF and PAI in predicting SVT performance. Paper presented at the 45th
      Annual Symposium of Recent Developments of the MMPI-2, MMPI-2-RF, & MMPI-
      A, St. Petersburg, FL.

  82. Wygant, D.B., Sellbom, M., & Gervais, R.O. (2010, March). Detection of Response
      Bias in a Forensic Disability Setting with the MMPI-2 Restructured Form (MMPI-2-
      RF). In Y.S. Ben-Porath (Chair), Symposium: Forensic Studies of the MMPI-2-RF:
      Empirical Findings and their Implications for Forensic Assessments. Paper
      presented at the 2010 American Psychology Law Society Annual Conference.
      Vancouver, Canada.

  83. Hager, J.J., Burton, K.A., Lybrand, K., Wygant, D.B., Freeman, D.B., & Heilbronner,
      R.L. (2010, March). An examination of ethnicity: Does it moderate the association
      between MMPI-2-RF scales and measures of psychopathology and response

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     bias? Poster presented at the 45th Annual Symposium of Recent Developments of
     the MMPI-2, MMPI-2-RF, & MMPI-A, St. Petersburg, FL.

  84. Sellbom, M., Steffan, J., & Wygant, D.B., Gervais, R.O. (May, 2009). Utility of the
      MMPI-2-RF (Restructured Form) Validity Scales in Detecting Malingered
      Depression across Two Levels of Coaching. Paper presented at the 44th Annual
      Symposium of Recent Developments of the MMPI-2, MMPI-2-RF, & MMPI-A,
      Minneapolis, MN.

  85. Gervais, R.O., Ben-Porath, Y.S., Sellbom, M., & Wygant, D.B. (May, 2009). Effect of
      SVT failure onMMPI-2-RF validity and substantive scales. Paper presented at the
      44th Annual Symposium of Recent Developments of the MMPI-2, MMPI-2-RF, &
      MMPI-A, Minneapolis, MN.

  86. Toomey, J.A., Sellbom, M., Wygant, D.B., Kucharski, L.T., & Duncan, S.A. (2009,
      March). The utility of the MMPI-2-RF validity scales (F-r and Fp-r) in identifying
      criminal defendants who feign psychopathology on the SIRS. Paper presented at
      the 2009 American Psychology Law Society Annual Conference. San Antonio, TX.

  87. Wygant, D.B., Gervais, R.O., & Ben-Porath, Y.S. (2008, October). The MMPI-2
      Restructured Form (MMPI-2-RF) Validity Scales: Association with Response Bias
      Criteria. Poster presented at the 28th Annual Meeting of the National Academy
      of Neuropsychology, New York, NY.

  88. Gervais, R.O., Ben-Porath, Y.S., Wygant, D.B., & Sellbom, M. (2008, October).
      Incremental validity of the MMPI-2-RF over-reporting scales and RBS in assessing
      memory complaints. Poster presented at the 28th Annual Meeting of the National
      Academy of Neuropsychology, New York, NY.

  89. Wygant, D.B., Gervais, R.O., & Ben-Porath, Y.S. (2008, June). The Response Bias
      Scale and Malingered Neurocognitive Dysfunction: Comparison with other
      MMPI-2/MMPI-2-RF indices of Response Bias. Poster presented at the 43rd Annual
      Symposium on Recent Developments of the MMPI-2/MMPI-A, Minneapolis, MN.

  90. Gervais, R.O., Ben-Porath, Y.S., & Wygant, D.B. (2008, June). Empirical Correlates
      of the MMPI-2-RF Cognitive Complaints (COG) Scale. Paper presented at the 43rd
      Annual Symposium on Recent Developments of the MMPI-2/MMPI-A,
      Minneapolis, MN.

  91. Wygant, D.B., Ben-Porath, Y.S., Stafford, K.P., Berry, D.T.R., Gallagher, R.W.,
      Freeman, D.B., & Heilbronner, R.L. (2008, March). Utility of the MMPI-2
      Restructured Form (MMPI-2-RF) validity scales in criminal and civil forensic
      settings. In Y.S. Ben-Porath (Chair), Symposium: Use of the MMPI-2-RF
      (Restructured Form) in Forensic Settings. Paper presented at the 2008
      American Psychology Law Society Annual Conference. Jacksonville, FL.



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  92. Sellbom, M., Wygant, D.B., & Bagby, R.M. (2008, March). The utility of the MMPI-2-
      RF (Restructured Form) validity scales in detecting non-credible somatic
      responding. Paper presented at the 2008 Society for Personality Assessment
      Annual Conference. New Orleans, LA.

  93. Wygant, D.B., Gervais, R.O., & Ben-Porath, Y.S. (2007, November). The MMPI-2
      Restructured Form (MMPI-2-RF) Validity Scales: Association with Malingered
      Neurocognitive Dysfunction. Poster presented at the 27th Annual Meeting of the
      National Academy of Neuropsychology, Scottsdale, AZ.

  94. Wygant, D.B., Sellbom, M., Graham, J.R., Freeman, D.B., & Heilbronner, R.L. (2007,
      April). Construct Validity of the Back Infrequency, FB, Scale. Poster presented at
      the 42nd Annual Symposium on Recent Developments of the MMPI-2/MMPI-A, Ft.
      Lauderdale, FL.

  95. Gervais, R.O., Ben-Porath, Y.S., & Wygant, D.B., Green, P. (2007, April). Differential
      sensitivity of the RBS and MMPI-2 validity scales to memory complaints. Poster
      presented at the 42nd Annual Symposium on Recent Developments of the MMPI-
      2/MMPI-A, Ft. Lauderdale, FL.

  96. Wygant, D.B., Ben-Porath, Y.S., Tellegen, A. (2007, April). Examining the utility of
      the revised and new validity scales for the MMPI-2-RF. In Y.S. Ben-Porath (Chair),
      Forum: The MMPI-2-RF (Restructured Form). Paper presented at the 42nd Annual
      Symposium on Recent Developments of the MMPI-2/MMPI-A, Ft. Lauderdale, FL.

  97. Sellbom, M., Ben-Porath, Y.S., Patrick, C.J., Gartland, D.M., Wygant, D.B., &
      Stafford, K.S. (2007, April). Psychopathy Can be Measured with the MMPI-
      2: Introducing Restructured Clinical (RC) Scale-based Measures of Psychopathy
      and its Facets. Paper presented at the 2007 Annual Meeting of the Society for
      the Scientific Study of Psychopathy, St. Peters Beach, FL.

  98. Wygant, D.B. (2007, March). Clinical Utility of the MMPI-2 Restructured Clinical
      (RC) Scales in Therapeutic Assessment: A Case Study. Poster presented at the
      2007 Annual Meeting for the Society for Personality Assessment, Arlington, VA.

  99. Wygant, D.B., Sellbom, M., Ben-Porath, Y.S., Stafford, K.P., Freeman, D.B., &
      Heilbronner, R.L. (2007, March). The Relation between Symptom Validity Testing
      and MMPI-2 Scores as a Function of Forensic Evaluation Context. Poster
      presented at the 2007 Annual Meeting for the Society for Personality Assessment,
      Arlington, VA.

  100. Wygant, D.B., Boutacoff, L.I., Arbisi, P.A., Ben-Porath, Y.S., Kelly, P.H., & Rupp, W.
     M. (2007, March). Empirical Correlates of the MMPI-2 Restructured Clinical (RC)
     scales in a sample of bariatric surgery candidates. In P.A. Arbisi (Chair), Empirical
     Correlates of the MMPI-2 Restructured Clinical (RC) Scales in Medical Settings.
     Symposium presented at the 2007 Annual Meeting for the Society for Personality
     Assessment, Arlington, VA.

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  101. Gervais, R.O., Ben-Porath, Y.S., Wygant, D.B. (2007, March). Empirical Correlates
     of the MMPI-2 Restructured Clinical (RC) Scales in Medical Disability Claimants. In
     P.A. Arbisi (Chair), Empirical Correlates of the MMPI-2 Restructured Clinical (RC)
     Scales in Medical Settings. Symposium presented at the 2007 Annual Meeting for
     the Society for Personality Assessment, Arlington, VA.

  102. Arbisi, P.A., Ben-Porath, Y.S., Wygant, D.B. (2007, March). Empirical correlates of
     the MMPI-2 Restructured Clinical (RC) scales in an outpatient VA medical setting.
     In P.A. Arbisi (Chair), Empirical Correlates of the MMPI-2 Restructured Clinical (RC)
     Scales in Medical Settings. Symposium presented at the 2007 Annual Meeting for
     the Society for Personality Assessment, Arlington, VA.

  103. Sellbom, M., Ben-Porath, Y.S., Stafford, K.P., & Wygant, D.B. (2007, March). A
     Comparison of MMPI-2 Clinical Scale 4 and RC4 as Measures of Psychopathic
     Deviance. Paper presented at the 2007 Annual Meeting for the Society for
     Personality Assessment, Arlington, VA.

  104. Wygant, D.B., Ben-Porath, Y.S., Gervais, R.O., Sellbom, M., Stafford, K.P.,
     Freeman, D.B., & Heilbronner, R.L. (2006, May). Further validation of the Response
     Bias Scale (RBS). Paper presented at the 41st Annual Symposium of Recent
     Developments of the MMPI-2/MMPI-A, Minneapolis, MN.

  105. Wygant, D.B., Ben-Porath, Y.S., Berry, D.T.R., & Arbisi, P.A. (2006, March). An
     MMPI-2 Validity Scale Designed to Detect Somatic Over-Reporting in Civil
     Forensic Settings. Paper presented at the 2006 American Psychology Law Society
     Annual Conference. St. Petersburg, FL.

  106. Fragoso, J.M., Wygant, D.B., Ben-Porath, Y.S., Freeman, D.B., & Heilbronner, R.L.
     (2006, May). Does Ethnicity Moderate the Relation between MMPI-2 scales and
     Measures of Psychopathology in a Sample of Latino and Caucasian Litigating
     Patients? Poster presented at the 41st Annual Symposium of Recent
     Developments of the MMPI-2/MMPI-A, Minneapolis, MN.

  107. Wygant, D.B., Gervais, R.O., & Ben-Porath, Y.S. (2005, October). Correlation
     between Word Memory Test (WMT) Performance and the MMPI-2 Restructured
     Clinical (RC) Scales. Poster presented at the 25th Annual Meeting of the National
     Academy of Neuropsychology, Tampa, FL.

  108. Gervais, R.O., Wygant, D.B., & Ben-Porath, Y.S. (2005, October). Word Memory
     Test (WMT) Performance and MMPI-2 Validity Scales and Indices. Poster
     presented at the 25th Annual Meeting of the National Academy of
     Neuropsychology, Tampa, FL.

  109. Wygant, D.B., & Stafford, K.P. (2005, August). Role of Competency in Mental
     Health Courts. Paper presented at the 113th Annual Convention of the American
     Psychological Association Convention- Division 41, Washington, DC.

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  110. Wygant, D.B., Ben-Porath, Y.S., Heilbronner, R.L., & Freeman, D.B. (2005, April).
     Examination of the Infrequent Somatic Complaints (FS) Scale in Personal Injury
     and Disability Claimants. Paper presented at the 40th Annual Symposium on
     Recent Developments of the MMPI-2/MMPI-A, Ft. Lauderdale, FL.

  111. Wygant, D.B., Arbisi, P.A., & Ben-Porath, Y.S. (2005, March). Examination of the
     Fake Bad Scale’s (FBS) Validity and Incremental Validity in Predicting Somatic
     Malingering. Paper presented at the Annual Meeting of the Society for
     Personality Assessment, Chicago, IL.

  112. Wygant, D.B., Ben-Porath, Y.S., Graham, J.R., Arbisi, P.A., & Storm, J. (2004, May).
     Review and Examination of the Gough Dissimulation Scale. Paper presented at
     the 39th Annual Symposium on Recent Developments of the MMPI-2/MMPI-A,
     Minneapolis, MN.

  113. Wygant, D.B., Ben-Porath, Y.S., & Arbisi, P.A. (2004, May). Development and
     Initial Validation of a Scale to Detect Infrequent Somatic Complaints. Poster
     presented at the 39th Annual Symposium on Recent Developments of the MMPI-
     2/MMPI-A, Minneapolis, MN.

  114. Wygant, D.B., Sellbom, M., Graham, J.R., & Schenk, P.W. (2004, March).
     Incremental Validity of the MMPI-2 Personality Psychopathology Five (PSY-5)
     Scales in Assessing Self-Reported Personality Disorder Criteria. Paper presented at
     the Annual Meeting of the Society for Personality Assessment, Miami, FL.

  115. Wygant, D.B., & Best, P.J. (2003, November). Spatial Cognitive Maps Afford
     Partial Generalization to Different Viewing Perspectives. Poster presented at the
     Annual Meeting of the Society for Neuroscience, New Orleans, LA.

  116. Wygant, D.B., Best, P.J., & Daniels, B. (2001, May). Influence of View on Spatial
     Memory Recall. Poster presented at the 2001 Miami University Undergraduate
     Research Forum, Oxford, OH.


WORKSHOP/CONTINUING EDUCATION PRESENTATIONS

  1. Wygant, D.B. (2021, February). Introducing the MMPI-3. Cincinnati Academy of
     Professional Psychology (CAPP). Remote.

  2. Wygant, D.B. (2020, January). Understanding the Psychopathic Personality.
     Forensics Seminar Series, University of Louisville Department of Psychiatry.
     Louisville, KY.

  3. Wygant, D.B. (2019, November). Understanding the Psychopathic Personality.
     Forensics Conference, Michigan State University Department of Psychiatry.
     Lansing, MI.

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  4. Wygant, D.B. (2019, November). Testifying as an Expert Witness. Forensics
     Conference, Michigan State University Department of Psychiatry. Lansing, MI.

  5. Wygant, D.B. (2019, November). Assessing Substance Use Disorders. Kentucky DUI
     Assessor Certification Training. Richmond, KY.

  6. Wygant, D.B. (2019, July). Assessing Substance Use Disorders. Kentucky DUI
     Assessor Certification Training. Richmond, KY.

  7. Wygant, D.B. (November, 2019). Understanding the Psychopathic Personality.
     Internship Didactic Workshop, Federal Medical Center. Lexington, KY.

  8. Wygant, D.B. (2019, July). An Introduction to the MMPI-2-RF for Correctional
     Psychologists. Workshop presented to the Kentucky Department of Corrections.
     LaGrange, KY.

  9. Wygant, D.B. (2019, June). Advanced MMPI-2-RF Validity Scale Interpretation.
     Workshops & 54th Annual Symposium on Recent Research. Minneapolis, MN.

  10. Ben-Porath, Y.S., & Wygant, D.B. (2019, June). Introduction to the MMPI-2-RF.
      MMPI Workshops & 54th Annual Symposium on Recent Research. Minneapolis,
      MN.

  11. Wygant, D.B. (June, 2019). Understanding the Psychopathic Personality.
      Internship Didactic Workshop, Federal Medical Center. Lexington, KY.

  12. Wygant, D.B. (2019, April). Assessing Substance Use Disorders. Kentucky DUI
      Assessor Certification Training. Richmond, KY.

  13. Wygant, D.B. (2018, November). Testifying as an Expert Witness. Internship
      Didactic Workshop, Federal Medical Center. Lexington, KY.

  14. Wygant, D.B. (2018, November). Assessing Substance Use Disorders. Kentucky DUI
      Assessor Certification Training. Richmond, KY.

  15. Wygant, D.B. (2018, July). Assessing Substance Use Disorders. Kentucky DUI
      Assessor Certification Training. Richmond, KY.

  16. Ben-Porath, Y.S., & Wygant, D.B. (2018, April). Introduction to the MMPI-2-RF. MMPI
      Workshops & 53rd Annual Symposium on Recent Research. Hollywood Beach, FL.

  17. Wygant, D.B., & Tarescavage, A. (2018, April). MMPI-2-RF Cases. MMPI Workshops
      & 53rd Annual Symposium on Recent Research. Hollywood Beach, FL.

  18. Wygant, D.B. (2017, November). Understanding the Psychopathic Personality.
      Internship Didactic Workshop, Federal Medical Center. Lexington, KY.

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   19. Wygant, D.B. (2017, October). MMPI-2 Restructured form: Introduction & Use in
       Diagnostic Assessment. Miami University, Oxford, OH.

   20. Wygant, D.B. (2017, July). Assessing Substance Use Disorders. Kentucky DUI
       Assessor Certification Training. Richmond, KY.

   21. Wygant, D.B. (2017, June). Assessing Externalizing Psychopathology with the
       MMPI-2-RF. MMPI Workshops & 52nd Annual Symposium on Recent Research.
       Minneapolis, MN.

   22. Wygant, D.B. (2017, June). MMPI-2-RF Case Studies. MMPI Workshops & 52nd
       Annual Symposium on Recent Research. Minneapolis, MN.

   23. Ben-Porath, Y.S., & Wygant, D.B. (2017, June). Introduction to the MMPI-2-RF.
       MMPI Workshops & 52nd Annual Symposium on Recent Research. Minneapolis,
       MN.

   24. Wygant, D.B. (2017, April). Assessing Substance Use Disorders. Kentucky DUI
       Assessor Certification Training. Richmond, KY.

   25. Wygant, D.B. (2016, November). Assessing Substance Use Disorders. Kentucky DUI
       Assessor Certification Training. Richmond, KY.

   26. Wygant, D.B. (2016, July). Assessing Substance Use Disorders. Kentucky DUI
       Assessor Certification Training. Richmond, KY.

   27. Wygant, D.B. (2016, June). Understanding the Psychopathic Personality. Internship
       Didactic Workshop, Federal Medical Center. Lexington, KY.

   28. Wygant, D.B. (2016, May). Assessing Externalizing Psychopathology with the
       MMPI-2-RF. MMPI Workshops & 51st Annual Symposium on Recent Research.
       Hollywood, FL.

   29. Wygant, D.B. (2016, May). Developing Diagnostic Impressions with the MMPI-2-RF.
       MMPI Workshops & 51st Annual Symposium on Recent Research. Hollywood, FL.

   30. Wygant, D.B. (2016, April). Assessing Substance Use Disorders. Kentucky DUI
       Assessor Certification Training. Richmond, KY.

   31. Wygant, D.B. (2015, November). Testifying as an Expert Witness. Internship
       Didactic Workshop, Federal Medical Center. Lexington, KY.

   32. Wygant, D.B. (2015, November). Assessing Substance Use Disorders. Kentucky DUI
       Assessor Certification Training. Richmond, KY.



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   33. Wygant, D.B. (2015, July). Assessing Substance Use Disorders. Kentucky DUI
       Assessor Certification Training. Richmond, KY.

   34. Wygant, D.B. (2015, June). Case Conceptualization with the MMPI-2-RF. MMPI
       Workshops & 50th Annual Symposium on Recent Research. Minneapolis, MN.

   35. Wygant, D.B. (2014, November). Testifying as an Expert Witness. Internship
       Didactic Workshop, Federal Medical Center. Lexington, KY.

   36. Wygant, D.B. (2014, November). Assessing Substance Use Disorders. Kentucky DUI
       Assessor Certification Training. Richmond, KY.

   37. Wygant, D.B. (2014, November). Forensic Uses of the MMPI-2-RF. Workshop at the
       2014 Annual Convention of the Kentucky Psychological Association. Louisville, KY.

   38. Wygant, D.B. (2014, June). Forensic uses of the MMPI-2-RF. Kentucky Department
       of Corrections Division of Mental Health and Substance Abuse/LaGrange, KY.

   39. Wygant, D.B. (2014, April). Using the MMPI-2-RF in Treatment Settings. MMPI
       Workshops & 49th Annual Symposium on Recent Research. Scottsdale, AZ.

   40. Wygant, D.B. (2014, April). Interpreting the MMPI-2-RF Validity Scales. MMPI
       Workshops & 49th Annual Symposium on Recent Research. Scottsdale, AZ.

   41. Wygant, D.B. (2014, April). Assessing Substance Use Disorders. Kentucky DUI
       Assessor Certification Training. Richmond, KY.

   42. Wygant, D.B. (2013, November). Assessing Substance Use Disorders. Kentucky DUI
       Assessor Certification Training. Richmond, KY.

   43. Wygant, D.B. (2013, September). The Psychopath Returns: DSM-5 and the
       Psychopathic Personality. Internship Didactic Workshop, Federal Medical Center.
       Lexington, KY.

   44. Wygant, D.B. (2013, July). Assessing Substance Use Disorders. Kentucky DUI
       Assessor Certification Training. Richmond, KY.

   45. Wygant, D.B. (2013, June). Minnesota Multiphasic Personality Inventory-2-
       Restructured Form (MMPI-2-RF): Advanced Interpretation Topics. Continuing
       education workshop, Chicago School of Professional Psychology. Washington,
       DC.

   46. Wygant, D.B. (2013, May). MMPI-2 Cases. MMPI Workshops & 48th Annual
       Symposium on Recent Research. St. Pete Beach, FL.

   47. Wygant, D.B. (2013, May). Using the MMPI-2-RF in Treatment Settings. MMPI
       Workshops & 48th Annual Symposium on Recent Research. St. Pete Beach, FL.

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   48. Wygant, D.B. (2013, May). Using the MMPI-2-RF in Medical Settings. MMPI
       Workshops & 48th Annual Symposium on Recent Research. St. Pete Beach, FL.

   49. Wygant, D.B. (2013, April). Antisocial Personality Disorder in DSM-5 Section 3: Links
       to Psychopathy, Personality, and Neurocognitive. Internship Didactic Workshop,
       Appalachian Regional Healthcare Psychology Internship. Hazard, KY.

   50. Wygant, D.B. (2012, November). Forensic uses of the MMPI-2 Restructured Form.
       Internship Didactic Workshop, Federal Medical Center. Lexington, KY.

   51. Marvin, K.N., & Wygant, D.B. (2012, November). Assessing Parental Fitness.
       Workshop at the 2012 Annual Convention of the Kentucky Psychological
       Association. Louisville, KY.

   52. Wygant, D.B. (2012, October). MMPI-2 Restructured Form: Use in Case
       Conceptualization & Assessment of Personality Disorders. Kentucky Department
       of Corrections Division of Mental Health and Substance Abuse/LaGrange, KY.

   53. Graham, J.R., & Wygant, D.B. (2012, April). MMPI-2 Illustrative Cases. MMPI
       Workshops & 47th Annual Symposium on Recent Research. Las Vegas, NV.

   54. Wygant, D.B. (2012, April). Use of the MMPI-2-RF in Mental Health Settings. MMPI
       Workshops & 47th Annual Symposium on Recent Research. Las Vegas, NV.

   55. Wygant, D.B., & Bagby, R.M. (2012, April). Assessing Over-reporting on the MMPI–2
       and MMPI–2–RF. MMPI Workshops & 47th Annual Symposium on Recent
       Research. Las Vegas, NV.

   56. Wygant, D.B. (February, 2012). The Psychopathic Personality: Concepts,
       Assessment, and Implications for DSM-5. Internship Didactic Workshop, Federal
       Medical Center. Lexington, KY.

   57. Wygant, D.B. (January, 2012). Advanced Assessment with the MMPI-2
       Restructured Form. Kentucky Psychological Association continuing education
       workshop. Louisville, KY.

   58. Anderson, J.A., & Wygant, D.B. (November, 2011). Assessment of Personality
       Disorders with the MMPI-2 Restructured Form: Clinical and Forensic Applications.
       Workshop at the 2011 Annual Convention of the Kentucky Psychological
       Association. Lexington, KY.

   59. Wygant, D.B. (October, 2011). The MMPI-2 Restructured Form: Introduction and
       Use in Forensic Settings. Internship Didactic Workshop, Federal Medical Center.
       Lexington, KY.



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   60. Wygant, D.B. (May, 2011). The MMPI-2 Restructured Form: Introduction and Basic
       Interpretation. Continuing education workshop. Richmond, KY.

   61. Wygant, D.B. (May, 2011). MMPI-2 Restructured Form Advanced Topics: Clinical
       Case Conceptualization and Assessment of Personality Disorders. Continuing
       education workshop. Richmond, KY.

   62. Graham, J.R., & Wygant, D.B. (2011, May). MMPI-2 Illustrative Cases. MMPI
       Workshops & 46th Annual Symposium on Recent Research. Minneapolis, MN.

   63. Wygant, D.B. (2011, May). Use of the MMPI-2-RF in Mental Health Settings. MMPI
       Workshops & 46th Annual Symposium on Recent Research. Minneapolis, MN.

   64. Wygant, D.B. (2011, May). Assessing Over-reporting on the MMPI–2 and MMPI–2–
       RF. MMPI Workshops & 46th Annual Symposium on Recent Research.
       Minneapolis, MN.

   65. Wygant, D.B. (2011, February). Recent Updates in Objective Personality
       Assessment: The MMP-2 Restructured Form: Use in Case Conceptualization.
       Continuing education workshop presented to the Department of Behavioral
       Health, Ireland Army Community Hospital. Fort Knox, KY.

   66. Wygant, D.B. (2010, November). The MMPI-2 Restructured Form: Introduction and
       Basic Interpretation. Workshop at the 2010 Annual Convention of the Kentucky
       Psychological Association. Louisville, KY.

   67. Wygant, D.B. (2010, November). The MMPI-2 Restructured Form Advanced Topics:
       Clinical Case Conceptualization and Use in Forensic, Medical, and Clinical
       Settings. Workshop at the 2010 Annual Convention of the Kentucky Psychological
       Association. Louisville, KY.

   68. Wygant, D.B. (2010, November). Best Practices in Child Custody Evaluations:
       Ethical, Scientific, and Practical Considerations. Workshop at the 2010 Annual
       Convention of the Kentucky Psychological Association. Louisville, KY.

   69. Wygant, D.B. (2010, May). Introducing the Restructured Form of the MMPI-2: Basic
       Interpretation and Use in Forensic Settings. Continuing Education workshop
       presented at Summit Behavioral Healthcare. Cincinnati, OH.

   70. Wygant, D.B. (2010, January). Forensic Psychological Evaluations: Addressing
       Psychological Issues in the Legal Arena. Continuing Legal Education Course for
       the Madison County Bar Association. Richmond, KY.

   71. Wygant, D.B., & Dameron, C. (2009, April). Psychological Parenting Evaluations.
       Presentation at Summit County Children Services. Akron, OH.



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   72. Wygant, D.B., & McMillan, C. (2009, April). Court Diversion Programs. Workshop
       presentation at the Summit County Alcohol, Drug Addiction, & Mental Health
       Services (ADM Board) Cross-Systems Training. Akron, OH.

   73. Wygant, D.B., Mastran, C., & Kovach, M.A. (2009, March). Court Testimony.
       Presentation to the Ohio Psychology Internship. Akron, OH.

   74. Wygant, D.B. (2009, February). Competency to Stand Trial and Criminal
       Responsibility. Educational presentation to the Summit County Sheriff’s
       Department. Akron, Ohio.

   75. Wygant, D.B., & Mannino, C. (2008, September). Reintegration of Sexual
       Offenders into the Community. Workshop presentation for Summit County
       Division of Public Safety. Akron, OH.

   76. Wygant, D.B., & Mannino, C. (2008, September). Sentencing Implications for
       Sexual Offenders. Workshop presentation for Summit County Division of Public
       Safety. Akron, OH.

   77. Wygant, D.B. (2008, September). Community Treatment and Diversion Programs.
       Workshop presentation at the Summit County Alcohol, Drug Addiction, & Mental
       Health Services (ADM Board) Cross-Systems Training. Akron, OH.

   78. Wygant, D.B. (2008, September). Sexual Offender Treatment. Workshop
       presentation for Summit County Division of Public Safety. Akron, OH.

   79. Wygant, D.B., & Mannino, C. (2008, August). Managing Sexual Offenders.
       Workshop presentation for Summit County Division of Public Safety. Akron, OH.

   80. Wygant, D.B. (2008, April). Providing Care for Offenders with Co-Occurring
       Disorders. Workshop presentation at the Summit County Alcohol, Drug Addiction,
       & Mental Health Services (ADM Board) Cross-Systems Training. Akron, OH.

   81. Wygant, D.B. (2007, October). Introduction to Psychopathology. Workshop
       presentation at the Summit County Alcohol, Drug Addiction, & Mental Health
       Services (ADM Board) Cross-Systems Training. Akron, OH.

   82. Wygant, D.B. (2007, September). Counseling Gay, Lesbian, Bisexual, and Trans-
       gendered Clients. Continuing Education workshop at Summit Psychological
       Associates, Inc. Akron, OH.

   83. Wygant, D.B. (2007, May). The Restructured Clinical (RC) Scales for the MMPI-2:
       Development, Interpretation, and Case Examples. Workshop presentation at
       Summit Psychological Associates, Inc. Akron, OH.




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   84. Wygant, D.B. & Giovannelli, J. (2006, May). The Restructured Clinical (RC) Scales
       for the MMPI-2 with Case Example. Workshop presentation at Coleman
       Professional Services. Kent, OH.


INVITED PRESENTATIONS

   1. Wygant, D.B. (2020, October). The Psychopath Returns: From Cleckley to DSM-5.
      Colloquium presentation, Xavier University School of Psychology & University of
      Cincinnati Department of Psychiatry and Behavioral Neuroscience. Cincinnati,
      OH. Remote delivery.

   2. Wygant, D.B. (2020, October). Mental Health Expert Testimony. Presentation at
      University of Kentucky College of Law. Lexington, KY. Remote delivery.

   3. Wygant, D.B. (2020, August). Integrating Psychological Testing in Psychological
      and Psychiatric Assessment. Presentation to the Forensic Psychiatry Fellowship,
      University of Cincinnati Department of Psychiatry. Remote delivery.

   4. Wygant, D.B. (2019, July). Integrating Psychological Testing in Psychological and
      Psychiatric Assessment. Presentation to the Forensic Psychiatry Fellowship,
      University of Cincinnati Department of Psychiatry. Cincinnati, OH.

   5. Niehaus, L., Wygant, D.B., & Grisez, M. (2019, March). Practical Guide to Career
      Search. Presentation at Miami University Department of Psychology. Oxford, OH.

   6. Wygant, D.B. (2018, July). Integrating Psychological Testing in Psychological and
      Psychiatric Assessment. Presentation to the Forensic Psychiatry Fellowship,
      University of Cincinnati Department of Psychiatry. Cincinnati, OH.

   7. Wygant, D.B. (2017, October). The Psychopath Returns: From Cleckley to DSM-5.
      Colloquium presentation, Miami University Department of Psychology. Oxford,
      OH.

   8. Wygant, D.B. (2017, July). Psychological Testing: From Responses to Interpretation.
      Presentation to the Forensic Psychiatry Fellowship, University of Cincinnati
      Department of Psychiatry. Cincinnati, OH.

   9. Wygant, D.B. (2017, February). Expert Testimony. Presentation at University of
      Cincinnati College of Law. Cincinnati, OH.

   10. Wygant, D.B. (2016, October). Reflections on Psychopathy: Elucidating the
       Criminal Mind and Personality. Presentation at John Carrol University. Cleveland,
       OH.

   11. Wygant, D.B. (2016, October). Inside the Mind of a Stalker. Presentation at John
       Carrol University. Cleveland, OH.

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   12. Wygant, D.B., & Wozniak, N.C. (2016, July). Psychological Testing: From Responses
       to Interpretation. Presentation to the Forensic Psychiatry Fellowship, University of
       Cincinnati Department of Psychiatry. Cincinnati, OH.

   13. Wygant, D.B. (2015, December). A Bad Case of Psychopathy: From Cleckley to
       DSM-5. Grand rounds presentation, Department of Psychiatry, University of
       Cincinnati. Cincinnati, OH.

   14. Wygant, D.B. (2015, October). Examination of the DSM-5 Alternative Trait Model
       for Personality Disorders: Empirical Evidence from Collegiate and Correctional
       Samples. Colloquium, Department of Psychology, Eastern Kentucky University.
       Richmond, KY.

   15. Wygant, D.B. (2015, July). Psychological Testing: From Responses to Interpretation.
       Presentation to the Forensic Psychiatry Fellowship, University of Cincinnati
       Department of Psychiatry. Cincinnati, OH.

   16. Wygant, D.B. (2014, July). Psychological Testing: From Responses to Interpretation.
       Presentation to the Forensic Psychiatry Fellowship, University of Cincinnati
       Department of Psychiatry. Cincinnati, OH.

   17. Wygant, D.B. (2014, April). Fitness for Duty Evaluations. Guest lecture at University
       of Louisville Department of Brain and Psychological Science. Louisville, KY.

   18. Wygant, D.B. (2014, March). Competency to Stand Trial & Criminal Responsibility
       Evaluations. Guest lecture at University of Louisville Department of Brain and
       Psychological Science. Louisville, KY.

   19. Wygant, D.B. (2013, November). Forensic Psychology. Presentation to students at
       Martha Collins High School. Shellbyville, KY.

   20. Wygant, D.B. (2013, November). Forensic Psychology. Presentation to students at
       Pulaski County High School. Richmond, KY.

   21. Wygant, D.B. (2013, July). Psychological Testing: From Responses to Interpretation.
       Presentation to the Forensic Psychiatry Fellowship, University of Cincinnati
       Department of Psychiatry. Cincinnati, OH.

   22. Wygant, D.B. (2013, April). The Psychopath Returns: DSM-5 and the Psychopathic
       Personality. Invited colloquium, University of Louisville Department of Brain and
       Psychological Science. Louisville, KY.

   23. Wygant, D.B. (2012, July). Psychological Testing: From Responses to Interpretation.
       Presentation to the Forensic Psychiatry Fellowship, University of Cincinnati
       Department of Psychiatry. Cincinnati, OH.


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   24. Wygant, D.B. (2012, April). Psychological Assessment. Presentation to students at
       Estill County High School. Irvine, KY.

   25. Wygant, D.B. (2012, March). Connecting the Dots between Faculty Mentorship
       and Student Involvement. Keynote Speaker at 2012 Kentucky Psychological
       Association Spring Academic Conference. Lexington, KY.

   26. Wygant, D.B. (2012, February). All Rise: Taking Forensic Psychology out of the
       Classroom and into the Courtroom. Presentation at the Celebration of Critical &
       Creative Thinking and Communication Showcase, Eastern Kentucky University.
       Richmond, KY.

   27. Wygant, D.B., & Wall, T.D., & Applegate, K.C. (2011, October). Psychological
       Testing: From Responses to Interpretation. Presentation to the Forensic Psychiatry
       Fellowship, University of Cincinnati Department of Psychiatry. Cincinnati, OH.

   28. Wygant, D.B. (2011, May). Personality Testing. Child Psychiatry Grand Rounds
       Presentation, Cincinnati Children’s Hospital Medical Center. Cincinnati, OH.

   29. Wygant, D.B., & Anderson, J.L. (2010, July). Psychological Testing: From Responses
       to Interpretation. Presentation to the Forensic Psychiatry Fellowship, University of
       Cincinnati Department of Psychiatry. Cincinnati, OH.

   30. Wygant, D.B. (2010, January). Abnormal Psychology. Poster presented at the
       Celebration of Critical & Creative Thinking and Communication Showcase,
       Eastern Kentucky University. Richmond, KY.

   31. Wygant, D.B. (2009, November). Forensic Psychology. Presentation to students at
       Madison Central High School. Richmond, KY.

   32. Wygant, D.B. (2008, October). Law and Psychology. Presentation to the Miami
       University Psi Chi Chapter. Oxford, OH.

   33. Wygant, D.B. (2008, November). Suicide Prevention. Presentation to high school
       students at Schnee Learning Center. Cuyahoga Falls, OH.

   34. Wygant, D.B. (2007, June). Malingering and Forensic Setting. Presentation to the
       Ohio Psychology Internship program. Akron, OH.

   35. Wygant, D.B. (2006, September). Forensic Psychology. Presentation to the
       Forensic Sciences Interest Group at Kent State University. Kent, OH.

   36. Wygant, D.B. (2006, January). Clinical Psychology. Presentation to students at La
       Salle High School. Cincinnati, OH.




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EDITORIAL RESPONSIBILITIES

Consulting Editor:      Psychological Assessment, Assessment, Journal or Personality
                        Assessment, Psychological Injury and the Law; Personality
                        Disorders: Theory, Research, and Treatment

Guest Editor:           Journal of Psychological Practice, Best Practices in Clinical Forensic
                        Psychology


TEACHING EXPERIENCE

Eastern Kentucky University Psychotherapy & Behavior Change II (Graduate)
                            Psychopathology (Graduate)
                            Advanced Children’s Assessment (Graduate)
                            Topics in Individual Differences (Graduate)
                            Personality Assessment (Graduate)
                            Practicum in Psychology (Graduate)
                            Proseminar in Assessment (Graduate)
                            Forensic Psychology (Graduate & Undergraduate)
                            Abnormal Psychology
                            Clinical Psychology
                            Senior Thesis
                            Research Practicum

The University of Akron         Advanced Psychological Tests and Measures (Graduate)
                                Psychological Tests and Measures

Kent State University           Psychological Interventions
                                Psychological Assessment
                                Writing in Psychology


MEMBERSHIPS IN PROFESSIONAL SOCIETIES                                                  _

   ▪   Member, American Psychological Association (APA)
           o Member, Division 12 (Society of Clinical Psychology)
           o Member, Division 12, Section IX (Assessment Psychology)
                 ▪ Membership Chair (2010-2019)
           o Member, Division 41 (American Psychology Law Society)
   ▪   Member, Kentucky Psychological Association (KPA)
   ▪   Fellow, Society for Personality Assessment (SPA)




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